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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS




IN RE: HILL’S PET NUTRITION, INC.                   MDL No. 2887
DOG FOOD PRODUCTS LIABILITY
LITIGATION
This Document Relates to All Cases                  Case No. 2:19-md-02887-JAR-TJJ




    NOTICE OF WITHDRAWAL OF APPEARANCE OF RACHEL E. SCHWARTZ

       Pursuant to Local Rule 83.5.5(b), the Court is hereby notified that Rachel E. Schwartz is

leaving the law firm Stueve Siegel Hanson LLP and is hereby withdrawing as counsel for

Plaintiffs. Co-Lead Counsel listed below, as well as members of the appointed Executive

Committee, will continue to represent Plaintiffs.




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Dated: February 22, 2022


Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record. Additionally, and pursuant to Local Rule 83.5.5(b), I hereby certify that a

copy of the foregoing was served on Plaintiff and Class Representative Michelle Black via

electronic mail on February 8, 2022.


                                             /s/ Rachel E. Schwartz
                                             Rachel E. Schwartz




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